983 F.2d 1086
    NOTICE: Federal Circuit Local Rule 47.8(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.Marilyn KING, Petitioner,v.OFFICE OF PERSONNEL MANAGEMENT, Respondent,
    No. 92-3633.
    United States Court of Appeals, Federal Circuit.
    Oct. 30, 1992.
    
      1
      DISMISSED.
    
    ON MOTION
    ORDER
    
      2
      Upon consideration of the unopposed motion of Marilyn King to voluntarily dismiss her petition for review,
    
    IT IS ORDERED THAT:
    
      3
      (1) The motion is granted and the petition for review is dismissed.
    
    
      4
      (2) Each side shall bear its own costs.
    
    